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Attorneys for Plaintiff,
MELANIE GORDON

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MELANIE GORDON, an individual, on
her own behalf and on behalf of all other.
similarly situated, .

Plaintiff,

vs.

SENSA PRODUCTS, LLC, a Delaware

‘Limited Liability Company; DR. ALAN
.R. HIRSCH, an individual; INTELLIGENT

BEAUTY, INC., a Delaware Corporation,
and DOES I through 10, inclusive,

Defendants.

 

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CASE NO.
CLASS ACTION
COMPLAINT FOR:

1. Violations of the Unfair
Competition Law, California
Business and Professions Code

. Sections 17200 ef seq.;

2. Violations of the False Advertising
Law, California Business and
Professions Code Section 17500; '

3. Violations of the Consumers Legal
Remedies Act, California Civil
Code Sections 1750 et seq.;

4. Breach of Express Warranty

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Plaintiff MELANIE GORDON ("Plaintiff’) brings this action against
Defendants SENSA PRODUCTS, LLC, DR. ALAN R. HIRSCH, INTELLIGENT
BEAUTY INC., and Does 1 through 10 (collectively, “Defendants") on behalf of
herself and all others similarly situated, and makes the following allegations upon
information and belief, except as to her own actions, the investigation of her counsel,
and the facts that are a matter of public record:

INTRODUCTION

1. Defendants market a product entitled the Sensa Weight Loss System
(“Sensa”), which purports to provide the consumer an easy, get-thin-quick solution,
without diet or exercise. Sensa consists of crystals, or “tastants,” which are
purportedly tasteless, and consist of maltodextrin, tricalcium phosphate, silica, and
natural and artificial flavors, which the consumer is instructed to sprinkle on his or her
food and simply watch the pounds melt away.

2. In order to convince consumers that such an incredulous product could
work, Defendants have saturated the market with claims that Sensa is “clinically
proven” and “guaranteed” to result in significant weight loss and is backed by twenty-
five years of scientific research and clinical studies.

3. In fact, none of the purported research or studies provides any sound
scientific support for Defendants’ outlandish claims. To the contrary, there currently is
no scientific support that Sensa, in and of itself, could cause weight loss, as Defendants

have claimed.

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PARTIES

4. Plaintiff is an individual who is a citizen and resident of Maine, who
purchased Sensa in November 2009 in reliance on Defendants’ false and/or misleading
advertising.

5. | Defendant SENSA PRODUCTS LLC (“SPL”) is a Delaware limited
liability company, registered with the California Secretary of State, with its
headquarters and principal place of business in Manhattan Beach, California.

6. Defendant DR. ALAN HIRSCH (“HIRSCH”) is an individual who is a |
citizen and resident of Illinois. HIRSCH is the purported creator of Sensa and the
purported author of scientific research and studies allegedly supporting the claims
made in the advertising of Sensa. HIRSCH appears prominently on SPL’s website and
in several tv spots and interviews promoting Sensan nationwide, including California.

7. Defendant INTELLIGENT BEAUTY INC. (“IBI”) is incorporated in the
State of Delaware and registered with the California Secretary of State, with its
headquarters and principal place of business in Manhattan Beach, California.

8. IBI and HIRSCH have an ownerships interest in SPL.

9. The true names and capacities, whether individual, corporate, associate or
otherwise, of each of the Defendants designated as a DOE are unknown to Plaintiff at
this time and therefore Plaintiffs sues defendants by such fictitious names. Plaintiff
will ask leave of the Court to amend this Complaint to show the true names and

capacities of the DOE defendants when that information has been ascertained.

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1 || Plaintiff is informed and believes and thereon alleges that each of the defendants

 

designated herein as a DOE is legally responsible in some manner and liable for the

4 || events and happenings herein alleged and, in such manner, proximately caused harm

5 || to Plaintiff as herein further alleged.

JURISDICTION AND VENUE

8 10. This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2). In

9) the aggregate, Plaintiff's claims and the claims of the other members of the Class
exceed $5,000,000 exclusive of interest and costs, and there are numerous class

12 || members who are citizens of states other than Defendants’ states of citizenship.

13 11. This Court has personal jurisdiction over SPL and IBI because their

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headquarters are located in California, within the Central District, and they conduct
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16 | substantial business in California.

V7 12. This Court has personal jurisdiction over HIRSCH because he

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9 purposefully directed his activities at California residents through his active

39 || participation in the marketing of Sensa directed at California residents.

21 13. Venue is proper in this Court pursuant to 28 U.S.C. §1391 because many

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33 of the acts and transactions giving rise to this action occurred in this District as SPL

54 || and IBI have their principal place of business in this District and because Defendants

*> | are subject to personal jurisdiction in this District.
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1 FACTUAL ALLEGATIONS

14. Defendants manufacture, market, and sell Sensa, which consists of

4|| crystals the consumer is instructed to sprinkle on his or her food and which Defendants
5 || promise will cause weight loss without the consumer changing his or her eating or
exercise habits.

8 15. A two-month supply of Sensa costs approximately $90, with each

9|| additional month costing approximately $60.

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16. Through an extensive and comprehensive nationwide marketing

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12 || campaign, Defendants claim that this expensive weight loss aid is scientifically |

{3 |) proven to cause significant weight loss to anyone who sprinkles it on his or her food in

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; the course of their daily food, without any additional change to his or her eating habits
5

16 || or exercise routine.

V7 17. Defendants’ advertising presents Sensa as tasteless “tastants” that, when

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9 sprinkled on food, “work [ ] with your sense of smell to stimulate an area of your brain

39 || called the ‘satiety center,’” causing you to eat less than you would in the absence of the

21 “tastants.”

22

4 Defendants’ advertising and marketing repeatedly claim that Sensa is “Clinically
24 Proven,” “Based on 25 years of research,” “Proven Effective,” “Tested in

2° Multiple Clinical Studies,” and that “Studies show average weight loss 30 lbs. in
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37 6 months.” For example:

28 a.  Sensa magazine advertisements appearing in Shape magazine

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makes the often repeated claim that Sensa is “Clinically Proven” and that “fijn one of
the largest clinical studies ever conducted on a non-prescription weight-loss product,

1,436 men and women lost and average of 30.5 pounds in 6 months without changing

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their existing diet or exercise program”:

 

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and eet less. There gre no pili, simutants,
cups of special fonds to buy. And SENGA®
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Nothing compares to the ease of SENSAM
Ad ittakes is a couple of seconds to
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before enjoying your meat, Whether ia a
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loss product, 1.436 men.end women lost
an average of 20.6 pounds in & months
swithout changing their axdating died ar -

 

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(Shape Magazine, November 2010.)

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This advertisement is usually accompanied with full page advertisement
claiming, inter alia, that Sensa is “Doctor Formulated / Clinically Proven,” “Studies
show average weight loss of 30 Ibs in 6 months,” and that “[iJn one of the largest
clinical studies ever conducted ..., 1,436 people lost and average of 30.5 pounds in 6

months without changing their existing diet or exercise regime” (emphasis in the

 

   

 

Lose 30+ Pounds Without Dieting?

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b. | Marketing appearing as Internet pop ups on such popular domains
as www.hotmail.com, depict a large woman turning into a small woman, with claims
that Sensa is “Clinically proven” to deliver an “[a]verage weight loss [of] 30 pounds in

6 months:”

 

 

 

 
 
 
 
 
 
 
 
  

Lose 45 Ibs
Before Summer
Clinically proven.

Average weight loss

30 pounds in 6 manths.
No Drugs. No Pils.

No Stimulants.

Try SENSA® FREE at
www trysensa.com

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Lose 45 Ibs
Before Summer

Clinically proven.
Average weight loss
30 pounds in 6 months.
No Drugs. No Pills,

No Stimulants.

Try SENSA® FREE at

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c. Defendants’ website www.trysensa.com , entitled “Natural Weight
Loss System — Lose Weight With Sensa: Try Sensa.com,” where consumers can learn
about the product or purchase Sensa, makes similar claims that Sensa is scientifically
proven to cause weight loss. The website’s first page displays the following lead

banner:

 

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Next to this graphic appears a video of an individual identified as Dayna Devon
who couches an advertisement as a news story and states:

“Hi, I’m Dayna Devon. I’ve been a reporter and broadcaster journalist for
more than 20 years. So when my producers asked me to do a story on a
weight loss product called Sensa, I thought, ... , this product sounds too
good to be true. You may have read about Sensa in the New York Times
and Time Magazine or seen it on Dateline NBC. Sensa’s been getting
lots of media attention because of a landmark 6-month clinical study in
which 1,436 people lost an average of over 30 pounds each. ... And
here’s the really amazing part. They did it without any drugs or pills.
Without changing their eating habits or adding any exercise routine. ...
We guarantee it.”

Dayna Devon’s video contains background graphics that make the oft-repeated
claim that Sensa is “Clinically Proven” and that “1,436 people lost an average of

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30 Ibs.” Dayna Devon has also appeared on Shop-NBC advertising, promoting and
selling Sensa. In fact, the study referred to by Dayna Devon is not a “landmark”
study, has never been published in a peer reviewed scientific journal, has not been
published or disseminated anywhere except as an abstract, and is not scientifically
sound or valid.

d. Defendants’ website www.trysensa.com also contains a prominent

banner with a link entitled “Clinically Proven.”

 

Under this link are three sub-categories entitled (i) “Clinically Proven,” (ii) “About Dr.
Hirsch,” and (iii) “SENSA® Advisory Panel.” The three web pages, alone and
combined as a whole, present the claim that Sensa is designed by medical
professionals, who use sound scientific principals, and that the Product's claims are
supported by extensive research, study, and clinical trials. In fact, all of these claims
are false.

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(i) The “Clinically Proven” web page states:

“NO OTHER WEIGHT-LOSS PRODUCT HAS SUCH
EXTRAORDINALY CLINICAL RESULTS.

Over the course of 25 years, SENSA® creator Dr. Alan Hirsch has conducted
ongoing research on the effects of smell and taste on eating habits,
ultimately leading him to spearhead one of the largest studies ever conducted
on weight loss. Over a 6 month period, 1,436 women and men sprinkled
scented, flavorless "Tastant" crystals on everything they ate. Participants
were instructed not to change their existing diet or exercise program.

The 1,436 people in the treatment group who completed the program lost an
average of 30.5 pounds - nearly 15% of their total body weight. Those in the
control group lost only 2 pounds, on average.

This was followed by a double-blind, placebo-controlled study conducted by
an independent laboratory, in which participants lost 27.5 pounds and about
14% of their body mass, on average. Participants were instructed not to
change their existing diet or exercise program. Those in the control group
gained half a pound, on average.

SENSA® was proven effective in one of the largest clinical studies ever

performed on a non-prescription weight-loss product.” (emphasis in
original)

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NO OTHER WEIGHT-LOSS PRODUCT HAS SUCH
EXTRAORDINARY CLINICAL RESULTS.

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Abstracts of the studies referred to by this page can be found by clicking the small
links appears at the bottom of the page. The full studies have never been published in

any peer reviewed scientific publication and are not publicly available.

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(ii) |The “About Dr. Hirsch” web page states:

“DR. ALAN HIRSCH, M.D.
CREATOR OF THE SENSA WEIGHT LOSS SYSTEM

Dr. Hirsch's 20-plus years of research regarding the impact of smell
and taste on weight loss culminated in the patent-pending technology used in
the SENSA® Weight-Loss System.

¢ Board-certified neurologist

* Director of the Smell & Taste Treatment and Research Foundation in
Chicago .

* Nation's leading authority on the science of smell and taste

¢ Author of 6 books

* More than 200 published research studies

¢ Featured on Dateline NBC, CNN and Good Morning America.”

The web page appears as follows:

 

 

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Next to the photo of HIRSCH is a video which purports to be from the television

_program Dateline, produced by NBC, a marketing partner of Defendants through its

ShopNBC platform. The video is advertising in the guise of genuine news and
attempts to bolster the false claims that Sensa is supported by sound science, research
and studies. In addition, the “more than 200” so-called published studies by HIRSCH
are not publicly available. In fact, there are no published scientific studies of any kind
that support the claims made by Defendants.

18. In addition to print, internet, and television commercials, including
lengthy spots on home shopping networks, Defendants have also engaged in a
comprehensive marketing and publicity campaign in which HIRSCH provides
numerous interviews to different television programs bolstering his purported scientific
expertise along with the false claim that Sensa is supported by sound science and is
clinically proven.

19. To the contrary of Defendants’ claims, none of the purported studies or
research provide scientifically sound support for Defendants’ advertising claims. That
20. © Indeed, the so-called studies have never been published in any peer

reviewed scientific publications and appear not be available to the public at all. As
described above, Sensa provides only abstracts or summaries of the so-called scientific
or clinical studies in two links, in small font, which appear at the bottom of the web
page entitled “Clinically Proven” at http://www.trysensa.com/clinical-study.htm (last

visited March 24, 2011). The contents of these abstracts, however, reveal that Sensa is

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not supported by sound science.

21. Moreover, there is currently no available sound science to support
Defendants’ assertion that consumption of Sensa with food, without further change to a
consumer’s eating or exercise habits, will cause weight loss. To the contrary, all
available sound science indicates that Sensa is not likely to work as promised.

22. In fact, Defendants themselves impliedly admit that Sensa, by itself,
cannot cause weight loss, but only after they successfully deceive consumers into
purchasing Sensa. The “Usage Guide” delivered with the product after it is purchase,
instructs customers to (i) substitute a list of specific high calorie foods with alternative
and less caloric choices, (ii) drink plenty of water, and (iii) incorporate exercise (see
Exhibit B attached hereto, Sensa Weight Loss System — Usage Guide), methods that in
and of themselves lead to weight loss, without the use of Sensa. Yet even the Usage
Guide reiterates time and again the false claim that the efficacy of Sensa is supported
by sound science and clinical testing.

23. Defendants have reaped millions or dollars as a result of their false
advertising campaign. According to public statements by Defendants, their sales of
Sensa have exceeded $5,000,000 in the four years preceding the filing of this
Complaint.

CLASS ACTION ALLEGATIONS
24. Plaintiff brings this action on her own behalf and on behalf of all other

persons similarly situated (the “Class”). The Class that Plaintiff seeks to represent

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consists of all persons in the United States who purchased Sensa within four years
preceding the filing of this Complaint, until the final disposition of this action.
Excluded from the Class are Defendants; officers, directors, and employees of the
Defendants; any entity in which Defendants have a controlling interest; the affiliates,
legal representatives, attorneys, heirs, and assigns of the Defendants; any federal, state
or local government entity; and any judge, justice, or judicial officer presiding over
this matter and the members of their immediate families and judicial staffs.

25. The members of the Class are so numerous that joinder of all members
would be impracticable. Plaintiff reasonably estimates that there are many thousands
of purchasers of Sensa in the United States.

26. There is a well-defined community of interest among the members of the
Class because common questions of law and fact predominate, Plaintiff's claims are
typical of the members of the Class and Plaintiff can fairly and adequately represent
the interests of the Class.

27. This action satisfies the requirements of Federal Rule of Civil Procedure
23(b)(3) because it involves questions of law and fact common to the member of the
Class that predominate over any questions affecting only individual members,
including:

a. Whether Defendants’ representations and conduct are likely to

deceive consumers;

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Whether Defendants violated California Unfair Competition Law,
Business & Professions Code Section 17200, et seq. and Section
17500, et seq.;

Whether, by their misconduct as set forth herein, Defendants have
engaged in unfair or unlawful business practices;

Whether, by their misconduct as set forth herein, Defendants have
engaged in, deceptive, untrue, or misleading advertising;

Whether, by their misconduct as set forth herein, Defendants have

violated the California Consumer Legal Remedies Act, Civil Code

Section 1750 et seq.;

Whether, by their misconduct as set forth herein, Defendants have
breached a warranty; and

Whether Plaintiff and the Class are entitled to damages, restitution,

civil penalties, and/or injunctive relief.

The claims of the Plaintiff class representative are typical of the claims of

the members of the Class. Plaintiff has no interests antagonistic to those of the Class

and Defendants have no defenses unique to Plaintiff.

Plaintiff will fairly and adequately protect the interest of the class and has

retained attorneys experienced in class and complex litigation.

The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to individual

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members of the Class, which would establish incompatible standards of conduct for
Defendants and would lead to repetitive adjudication of common questions of law and
fact. Accordingly, class treatment is superior to any other method for adjudicating the
controversy. Plaintiff knows of no difficulty that will be encountered in the
management of this litigation that would preclude its maintenance as a class action
under Rule 23(b)(3).

31. Damages for any individual class member are likely insufficient to justify
the cost of litigation, so that in the absence of class treatment, Defendants’ violations
of law inflicting substantial damages in the aggregate would go un-remedied without
certification of the Class.

32. Defendants have acted or refused to act on grounds that apply generally to
the class, as alleged above, and certification is also proper under Rule 23(b)(2).

FIRST COUNT
(Violation of the California Unfair Competition Law,
Business & Professions Code §17200, et seq.)

33. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully here.

34. Plaintiff brings this cause of action on behalf of herself and on behalf of

the Class.

35. Plaintiff has suffered injury in fact and lost money or property as a result

of Defendants’ conduct because she expended money to purchase Sensa in reliance on

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e 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 19 0f58 Page ID #:19

Defendants’ false and/or misleading advertising.

36. Defendants have engaged in unfair, unlawful, and fraudulent business
acts and practices as set forth above.

37. By engaging in the above-described acts and practices, Defendants have
committed one or more acts of unfair competition within the meaning of the Unfair
Competition Law, Business and Professions Code §17200 et seq., which prohibits any
“unlawful,” “fraudulent,” or “unfair” business act or practice.

38. Defendants engaged in “unfair” business acts or practices by
disseminating a nationwide false and/or misleading marketing campaign as described
above. Defendants’ false and/or misleading advertising harms consumers, and there is
no corresponding benefit to consumers that outweighs this harm.

39. Defendants engaged in “fraudulent” business acts or practices by
disseminating a nationwide false and/or misleading marketing campaign as described
above. Defendants’ acts and practices have deceived, and/or are likely to deceive,
members of the consuming public.

40. Defendants engaged in “unlawful” acts and practices because their
actions as alleged herein violate, at a minimum, Civil Code §§ 1770(a)(2), 1770(a)(5),
1770(a)(7), 1770(a)(9),1770(a)(17), and Business and Professions Code §17500 et
seq., as well as Regulations of the Federal Trade Commission.

41. Plaintiff, on behalf of herself and on behalf of each member of the Class,

seeks restitution, injunctive relief, and all other relief allowed under the Unfair

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COMPLAINT

 
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e 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 20 0f 58 Page ID #:20

Competition Law.
SECOND COUNT
(Violation of the False Advertising Law,
California Business & Professions Code § 17500 et seq.)

42. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully here.

43. Plaintiff brings this cause of action on behalf of herself and on behalf of
the Class.

44, Defendants have advertised and marketed Sensa to the public and offered
it for sale on a nationwide basis, including in California.

45. Defendants have engaged in the advertising and marketing alleged herein
with intent to directly and indirectly induce the purchase of Sensa by consumers.

46. Defendants’ advertisements and marketing representations are false
and/or misleading, and likely to deceive the public and / or have deceived the public by
falsely claiming that scientifically valid evidence proves Defendants’ claims, or in
claiming that Sensa is likely to cause weight loss in and of itself, without any change in
the consumers’ diet or exercise routine.

47. In making and disseminating the statements alleged herein, Defendants
knew or should have known that the statements were untrue or misleading, and acted
in violation of the Business and Professions Code § 17500, et seq.

48. Defendants’ misrepresentations were material and Plaintiff relied on

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COMPLAINT

 

 
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e 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 210f58 Page ID#:21

Defendants’ misrepresentations.

49. The misrepresentations by Defendants discussed above constitute false
and misleading advertising and therefore constitute a violation of California Business
& Professions Code §17500, et seq.

50. Plaintiff and the Class members based their decisions to purchase Sensa in
substantial part on Defendants’ misrepresentations and false statements. Defendants
have reaped millions of dollars of revenues through the sale of Sensa as a result of the
false and misleading advertisements. Plaintiff and the Class were injured in fact and
lost money or property as a result of Defendants’ wrongful conduct.

51. Plaintiff, on behalf of herself and the Class, seeks restitution, injunctive
relief and all other relief allowable under the False Advertising Law.

THIRD COUNT
(Violation of Consumer Legal Remedies Act, California Civil Code § 1750 et seq.)

52. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully here.

53. Plaintiff brings this claim individually and on behalf of the Class.

54. This cause of action is brought pursuant to the Consumers Legal Remedies
Act, California Civil Code § 1750, et seg. (the "Act") because Defendants’ actions
and conduct described herein constitute transactions that have resulted in the sale of
goods or services to consumers.

55. Plaintiff and each member of the Class are consumers as defined by

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COMPLAINT

 
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California Civil Code §1761(d).

56. | Sensa constitutes “goods” within the meaning of Civil Code §1761(a).

57. Defendants have violated the CLRA in at least the following respects:

a. in violation of §1770(a)(2), Defendants misrepresented the
sponsorship, approval, and / or certification of Sensa;

b. in violation of §1 770(a)(5), Defendants represented that Sensa has
characteristics, uses, and benefits which it does not have;

C. in violation of §1770(a)(7), Defendants misrepresented that Sensa
is of a particular standard, quality or grade; and

d. in violation of §1770(a)(9), Defendants advertised Sensa with intent
not to sell it as advertised.

58. Defendants’ deceptive acts and omissions occurred in the course of selling
a consumer product and have occurred continuously through the filing of this
Complaint.

59. On April 22, 2011, Plaintiff notified Defendants in writing by certified
mail of the violations alleged herein and demanded that Defendants remedy those
violations. A copy of the letter Plaintiff sent to Defendants is attached as Exhibit A.

60. If Defendants do not remedy the violations alleged herein by May 23,
2011, Plaintiff will amend this complaint to add claims for actual, punitive, and

statutory damages as appropriate.

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COMPLAINT

 

 

 
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1 FOURTH COUNT
2
(Breach of Express Warranty)
3
4. 61. Plaintiff incorporates herein by reference each substantive former

5 || paragraph of this complaint as if set forth fully here.

62. Plaintiff brings this claim individually and on behalf of the Class.

g 63. Plaintiff, and each member of the Class, formed a contract with Defendants
9 || at the time Plaintiff and the other members of the Class purchased Sensa. The terms of
, that contract include the promises and affirmations of fact made by Defendants in

12 || advertisements and the packaging of Sensa as described above. This product

131 packaging and advertising constitutes express warranties, became part of the basis

14 ;
; of the bargain, and is part of a standardized contract between Plaintiff and the
5

16 || members of the Class on the one hand, and Defendants on the other.

7 64. All conditions precedent to Defendants’ liability under this contract
18

19 have been performed by Plaintiff and the Class.

20 65. Defendants breached the terms of this contract, including the express
21|| warranties, with plaintiff and the Class by not providing a product that was

22

33 scientifically proven to provide the promised weight-loss benefits.

24 66. Asaresult of Defendants’ breach of warranty, Plaintiff and the Class have
>! been damaged in the amount according to proof.

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COMPLAINT

 

 

 

 
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Dated: April 22, 2011

e 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 240f58 Page ID #:24

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated,

prays for judgment against Defendants as follows:

An order certifying this case as a class action and appointing Plaintiff and her

counsel to represent the Class;

An order requiring Defendants immediately to cease the wrongful conduct

and false advertising described above;

An order requiring Defendants to disseminate corrective advertising;
For restitution, actual and punitive damages;

For reasonable attorneys’ fees and the costs of this action;

For statutory pre-judgment interest; and

For such other relief as this Court may deem just and proper.

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury trial of her claims to the extent authorized by

AHDOOT & WOLFSON, APC

“TW

By:

 

Tina Wolfson
Attorneys for Plaintiff
MELANIE GORDON

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COMPLAINT

 
Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 25o0f58 Page ID #:25

Exhibit A
Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 26 of 58 Page ID #:26
AHDOOT & WOLFSON, APC

 

ATTORNEYS
April 22, 2011
VIA CERTIFIED US MAIL
RETURN RECEIPT REQUESTED
President, CEO, Manager or Dr. Alan R. Hirsch President / CEO
Member 845 North Michigan Avenue _Intelligent Beauty, Inc.
Sensa Product, LLC Suite 990W 2301 Rosecrans Avenue
2301 Rosecrans Avenue Chicago, IL 60611 Suite 4100
Suite 4100 | El Segundo, CA 90245

El Segundo, CA 90245

RE: Melanie Gordon vs. Sensa Products, LLC, Dr. Alan R. Hirsch & Intelligent
- Beauty, Inc.

California Consumer Legal Remedies Act Demand
Civil Code Section 1782

Dear Sir or Madam and Doctor:

Please be advised that this firm represents Plaintiff Melanie Gordon (“Plaintiff”) on
behalf of herself, all others similarly situated, in an action against Sensa Products, LLC, Dr. Alan
R. Hirsch, and Intelligent Beauty, Inc. (collectively, “Defendants”). This notice is being sent to
you pursuant to California Civil Code Section 1782(a)(2).

Our client is maintaining a class action on behalf of all consumers nationwide who
purchased the “Sensa Weight Loss System” (“Sensa”). Plaintiff is alleging through this action
that Sensa has been and continues to be marketed with the following messages, without
limitation:

(1)  Sensa, in an of itself, causes significant weight loss, without any change in diet or
exercise;

(2) The above claims are clinically proven and supported by scientific evidence and
studies.

10850 WILSHIRE BOULEVARD « SUITE 370 ° LOS ANGELES. CALIFORNIA 90024
TEL: (Io) 474-9111 « FAX: (310) 474-8585 E-MAIL: aw@ahdootwolfson.com
Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 24 Qf,98romagellDot: 27

Dr. Alan R. Hirsch

Intelligent Beauty, Inc.

California Civil Code §1782 Demand
April 22, 2011

Page 2

It is alleged that these representations were and are false, and that Defendants knew or
should have known at the time it made these representations that they were false.

The full allegations are contained in Plaintiff's Class Action Complaint, a copy of which
is enclosed.

Despite the facts above, Defendants continue to make false and misleading
representations in their advertising of Sensa.

These practices constitute violations of California Civil Code Section 1770 in at least the
following respects:

(a) in violation of Section 1770(a)(5), Defendants represented that Sensa has
characteristics and benefits that it does not have;

(b) _ in violation of Section 1770(a)(7), Defendants represented that goods or services
are of a particular standard, quality, or grade, or that goods are of a particular style or model,
when they are of another;

(c) in violation of Section 1770(a)(9), Defendants have advertised Sensa with the
intent not to sell it as advertised; and

(d) in violation of Section 1770(a)(16), Defendants have represented that Sensa was
supplied in accordance with previous representations, when in fact it was not.

In light of the foregoing, and pursuant to Civil Code Section 1782(a)(2), it is hereby
demanded on behalf the Plaintiff, and all others similarly situated nationwide, that Defendants
immediately correct, repair, replace, and otherwise rectify the violations of Civil Code Section
1770, through the following actions: that Defendants cease and desist in making representations
regarding Sensa that are not in fact true, that they engage in a corrective advertising campaign
which will alert the public to its misconceptions about Sensa, and that they refund the purchase
price paid for Sensa, plus interest, costs and fees, to all purchasers of Sensa.

Plaintiff will amend her Complaint to include claims for injunctive relief, actual damages,
punitive damages, and all other damages permitted under the California Consumer Legal
Remedies Act unless appropriate correction, repair, replacement, or other remedy is given, or
agreed to be given within thirty days after receipt of this notice pursuant to Civil Code Section
1782(b). Furthermore, please be advised that the portion of the class who are “senior citizens,” or
“disabled persons,” and who suffered the aforementioned illegal acts and practices by
Defendants will be entitled to treble damages and / or $5,000 per person pursuant to Civil Code
Sections 1780(b) and 3345. Therefore, in order to avoid further litigation, it is in the best interest
of all concerned that Defendants rectify the situation immediately.
Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 2&o{.99,omagellDc?:28

Dr. Alan R. Hirsch

Intelligent Beauty, Inc.

California Civil Code §1782 Demand
April 22, 2011

Page 3

Note that in order for Defendants to avoid an action for damages they must do all of the
following pursuant to Civil Code Section 1782(c):

1. Identify, or make a reasonable effort to identify, all present and former purchasers

of Sensa;

2. Notify all such consumers that, upon their request, Defendants will refund the
purchase price of Sensa plus reimbursement for interest, costs, and fees; and

3. Cease to engage in the methods, acts or practices outlined above.

We look forward to hearing from you.

Sincerely,
AHDOOT & WOLFSON, APC
we

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ina Wolfson
Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 29 0f58 Page ID #:29

Exhibit B
 

 

SENS

WEIGHT-LOSS SYSTEM

SPRINKLE AWAY THE POUNDS
Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 31 of 58 Page | ID #:31

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/ ABOUT SENSA® CREATOR, DR. ALAN HIRSCH, M. D..

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_- ss Dr. Alan Hirsch, creator of the SENSA Weight-Loss
_ System, is renowned for his 25 years of research on
_ the science of smell and taste. He has written seven
_ books on the subject, conducted and published
- more that 200 research studies, and holds multiple
| patents relating to the use of olfactory mechanisms
- to influence biological responses. His research has
been cited in major publications, including Time,
Good Housekeeping and USA Today, and he is a

 

frequent guest on television programs such as Dateline NBC, CNN, the
CBS Early Show, Good Morning America and Extra.

During the course of his clinical work as Neurological Director of the
Smell & Taste Treatment and Research Foundation in Chicago, Dr. Hirsch
discovered a critical link between olfactory senses and weight loss.

He observed that many of his patients experienced significant weight
gain after losing their sense of smel!. Understanding that the urge to
eat is not governed by the stomach, but by the satiety center of the
brain, Dr. Hirsch theorized that weight Joss could also be achieved
through the sense of smell. He developed scented, flavorless crystals,
called Tastants, that can be sprinkled onto food in order to encourage
weight loss,

Dr. Hirsch and his team tested more than 4,000 different Tastant
combinations to identify the ones that triggered the most weight loss.
Now, these patent-pending Tastanis are available to you in the SENSA
Weight-Loss System.

As with any weight-loss product, this formula is designed and intended for use with a sensible program of diet
and exercise. Please consult your physician prior to beginning any exercise regimen,
Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 32 0f58 Page ID #:32

SENSA

WEIGHT- —— So YeteM

 

TrySensa.com >

Sprinkle Away the Pounds!
Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 33 of 58 Page ID #:33

© @0See CONTENTS

| 4- KEYS TO SUCCESS WITH-SENSA

2 - WHAT IS SENSA?

-4-WHO IS SENSA FOR?

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5 - WHY |S SENSA DIFFERENT?
6 - HOW DOES SENSA WORK?
8 - HOW TO USE SENSA
47. - WHAT TO EXPECT
12 - THE COMPLETE SENSA SYSTEM
13 - TRACKING SHEET
14 - REMEMBERING TO USE SENSA
17 - SENSIBLE STRATEGIES TO STAY ON TRACK
‘4 19 - KIOKSTARTING A HEALTHY LIFESTYLE
:| 99. - STAYING MOTIVATED

23 - JOIN THE SENSA COMMUNITY

24 - FREQUENTLY ASKED QUESTIONS
Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 34 0f58 Page ID #:34

“KEYS TO SUCCESS WITH SENSAY

Ready to shed those pounds? Here are 4 important things you should

do to achieve successful weight loss!

<» Sprinkle SENSA on Everything You Eat
Those who sprinkle liberally tend to see the best results.

“. Use SENSA Consistently Every Day
Get in the habit! It is important to remember to use SENSA every
day. If you forget, simply sprinkle it on your next meal. Soon it will

become second nature!

‘Give SENSA Time to Work
Don't get discouraged if you don't see results right away. Everyone
loses weight at different rates. Stick with the system and you will

see results.

~’ Get Support
Turn to the SENSA Community for support, expert advice and
everything else you need to succeed. Log on to TrySensa.com and
click on SENSA Community, .

SENSA CUSTOMER CARE:

TrySensa.com

Toll-Free U.S. & Canada: (866) 514-2554
International: (810) 683-0952
Monday-Friday, 7 a.m. - 4-0.m. PST
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Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 35 of 98 Page ID #:35

_ [WHAT IS SENSA*?

SENSA is an entirely new weight-loss system. Simply sprinkle it on all of
your favorite foods to safely and effectively curb your appetite and lose

weight without feeling deprived.

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No stimulants * No sodium * No sugar
No calories « No gluten ¢ No MSG

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Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page.36 of 58 Page ID #:36

    
  
  

“lf you don’t want to be
on arestricted diet, it's
the perfect weight-loss
system for you.
— Amanda

 

Studies show average weight loss of 30 Ibs in 6 months
Case 2:11-cv-03457-
57-SVW-MAN Document 1 Filed 04/22/11 Page 37 of 58 Page ID #:37

. WHO IS SENSA’ FOR?

SENSA is essentially for anyone who wants to lose weight - whether it’s

to shed a few stubborn oounds or to see 4 drastic weight drop. SENSA

coat

would also benefit:
#: Anyone who wants to lose weight or maintain their current weight
“x Anyone who has tried other weight-loss systems and failed
as Anyone who wants freedom from restrictive dieting
ao Anyone who wants to lose weight without stimulants

é& Anyone who wishes to accelerate their weight

loss while on other weight-loss programs

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MONTH 4

) SENSA

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_ Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 38 0f 58 Page ID #:38

[ WHY IS SENSA® DIFFERENT?

SENSA is different from all other weight-loss programs because it allows

you to lose weight without food restrictions, stimulants or pills.

It’s Proven Effective oe

Sak

Based on 25 years of research
Tested in multiple clinical studies

30 pounds average weight loss

e
v

& \t’s NotA Diet

No pills, stimulants or drugs

No pre-packaged meals ¢

Calorie-free, sugar-free and sodium-free

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& Easy to Use

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Sprinkle onto meals
Fits in purse or pocket
No drastic change in lifestyle

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__ [WHY USE SENSAINSTEAD OF DIETING |

Following a strict food regimen based on self-deprivation often leads
+o “diet burnout’, eventually causing you to give up. “Diet burnout’ is
sometimes followed by the dreaded “yo-yo” effect. The end result:

more frustration.

lf you have tried pre-packaged foods, you have probably discovered they
are nota practical means of long-term weight loss. They are expensive,

do not allow for eating out and can have added sugar and/or salt. .
Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 39 0f 58 Page ID #:39

[ HOW DOES SENSA® WORK? |

As you eat, smell and taste receptors send messages to your brain,
which releases hormones that tell your body it’s time to stop eating.
This is a phenomenon we call sensory specific satiety. Based on his ©
research, and the remarkable weight-loss results seen in his studies,
Dr Hirsch found that SENSA Tastants help to speed up the satiety _
process, thereby helping you to eat less and take in fewer calories,

so you can lose weight without giving up your favorite foods.

[ THE SATIETY PROCESS: |
HOW YOUR BODY KNOWS WHEN TO STOP EATING .

2 Scents from foods cause nerve receptors
in the nose to send signals to the
olfactory bulb.

 

“= When the olfactory bulb is stimulated,
it triggers the satiety center in
the hypothalamus.

&9 This triggers the release of hormones
that suppress hunger and appetite.

 

 

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Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 40 0f58 Page ID #:40.

   

“SENSA’ gave me the
sense of being fulfilled.
| didn’t have to reach

for snacks. Feeling full
helped me stay away
from food.’

— George
Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 410f58 Page ID #:41

[ HOW TO USE SENSA’ |

Sprinkle SENSA evenly over ihe surface of your food. Use the Tastants
labeled ‘Salty’ on salty foods and "Sweet" on sweet foods. After 30 days,
move on to the next month in the system. Use it on everything you eat,
including healthy foods. Here's an idea of how much you should sprinkle:

Not Enough:

 

Just Right:

Too Much:

 

Seeeeo 3.
SENSA® INCLUDES TWO SIDES: SALTY & SWEET

Use the Tastants labeled ‘Salty’
on foods like meat, fish, pasta
and sandwiches. Here is an

example of a “Salty” food:

Use the Tastants labeled
“Sweet” on fruit and all sugar

based foods like dessert. Here

Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 42 of 58 Page ID #:42

is an example of a “Sweet” food:

 

_The “Salty” and “Sweet” Tastants do not contain salt or sugar and do
not make your food taste salty or sweet. The words “Salty” and “Sweet"

are simply used to describe on which type of food the Tastants should

 

 

 

 

be sprinkled.
“Salty” Foods “Sweet” Foods
Eggs Veggies - Pancakes Jello
Sausage/ Bacon Pasta Cereal with Milk Pies
Sandwich Chips/Pretzels Fruit Salad Pastries/Donuts —
Garden Salad Cheese Cookies Fruit
Tuna Salad Brownies

 

 

 

 

 
Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 43 of 58 | Page ID #:43
For borderline foods like oatmeal, corn, yogurt and cottage cheese, you

may use either the “Salty” or “Sweet” Tastants.

Do not use SENSA” in liquids.

 

ERA TEMA WR te”

For additional food choices, go to TrySensa.com.

DIFFICULT TO SPRINKLE FOODS

You may come across some foods that are a little tricky when it comes
to sprinkling Tastants. For foods like chips, nuts or pretzels, you can
sprinkle SENSA directly into the bag, or simply sprinkle over the food

on a plate.

Some users have found that using a light spritz of water onto fruits like

grapes and berries help the Tastants stick.

_ For more tips and tricks from other
users, check out the Community
Forums by logging in to
TrySensa.com and clicking
on SENSA Community.

 

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Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 440f58 Page ID #:44

"WHAT TO EXPECT |

 

 

When you first start using SENSA®, you may or may not feel different.

Below are some of the experiences people have reported when
using SENSA:

e Feel full faster during meals

e Reduced snacking

e Reduced cravings

e Reduced needs/desires for sweets

e Feel more satisfied with food

Feel they are eating less over the course of the day

® Eating entire meals, but not going back for seconds

e Eating smaller portions

Some users did not feel different at all, but they experienced weight loss

as the program progressed. The key is to continue with the system!

  
Case 2:11-cv-03457-SVW-MAN Document 1. Filed 04/22/11 Page 45 of 58 Page ID #:45

[ THE COMPLETE SENSA® SYSTEM

SENSA is a monthly weight-loss system. Each month is indicated by
the number on the container and contains a different proprietary blend
of Tastants. You are given two shakers for each month: one to keep at

home and one to carry with you. Use the Tastants in chronological order

 

of month. In order to achieve the best results, it is important to move on

 

to the next month’s Tastants after 30 days. This is because your olfactory
senses can become accustomed to a particular Tastant combination.
You should always move on to the next month, even if you have some
Tastants left over. If you run out of SENSA in less than a month, simply
move on to the next month in the system and try using a little less. If

you have a lot of SENSA left over at the end of the month, try using a little
more SENSA the next month.

MONTH 4 ONTH2 ONTH3 ONTH 4 : ONTHS i ONTH 8 :
|
| SENS Nsai NSAi -NSAi NSA! NSA:
oes Srstny aoe EN secde | see soe ee | eae” EY
: :
‘ Oe - Hlnnsea, es ee wa ee oo i eee _ SS

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Should you wish to lose more weight or to maintain your weight beyond
Month 6, simply start the system over again with Month 1.

#€@e2ee0e 12
Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 46 of 58 Page ID #:46

"TRACKING SHEET |

Use this tracking sheet as a reminder to switch to your new shakers

each month.

MONTH 4

Oo
MONTH 5

OOCOVe
MONTH

Date Opened:
Your Weight:
Discard Date:

Date Opened:
Your Weight:
Discard Date:

Date Opened:
Your Weight:
Discard Date:

Date Opened:
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Date Opened:
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Date Opened:
Your Weight:
Discard Date:

 
 

 

 

Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 47 of 58 Page ID #:47
[ REMEMBERING TO USE SENSA’ |

The key to success with SENSA is to sprinkle it liberally and consistently
on everything you eat. When you first start out, you may forget and need
to create little reminders, but soon enough it will become second nature.

Here are a few tips on remembering to use SENSA in various settings:

At a Restaurant

A sure way to remember to bring a shaker with you when dining
out is to keep it in your purse or car glove compartment. Or, place
one shaker next to your keys, purse or wallet so that you dont

. forget to take it with you.

At Work
Since each month comes with 2 shakers, it’s helpful to keep one
of the shakers at work. That way, you will always have it with you at

your desk.

At a Party

It's easy to forget to use SENSA when you're too busy socializing.
Try this: Place your extra shaker wherever your cell phone is
stored. That way, each time you check for missed calls or text

messages, you will be reminded to use SENSA.

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Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Pa
e 48 P .
TIPS FROM THE SENSA®” COMMUNITY FORUMS ON age ID #:48

REMEMBERING TO USE SENSA:

 

 

 

i D Remember to use your Sensa

| : Posted Friday June 10, 2008 at 10:05
| Joined: 06/01/08 |
| Posts:20 [took care of remembering to use Sensa with post-it notes. ;

: | put them all around my kitchen, in the silverware drawer, |
: etc. Once | did that, | had no more problems remembering,

_and shortly thereafter | was able to get rid of the notes.

 

san see et on vee econ ae wd

 

Quote | Send PM | Link | Top | Bottom

 

! Gaylene Remember to use your Sensa
: : Posted Friday June 11, 2008 at 5:00

# Joined: 06/03/08 |

1 Posts: 32 i If you're in a lot of places, just put a sticker on the back of
: : your hand or a string on your finger. That way, no matter
i : where you are, you have the reminder with you. |

 

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For more tips from SENSA users,
check out the Community Forums by logging in to
TrySensa.com
and clicking on SENSA Community.

“| had a little trouble remembering to

sprinkle when | first started SENSA...but now

i's second nature. It gets easier every day!’
+ Blake |
Case 2:11-cv-03457-SVW-MAN Document1 Filed 04/22/11 Page 49 of 58 Page ID #:49

 

 

 

“It was effortless,

and there wasnt a
struggle. | went from a
48 to a 28 inch waist—
the equivalent of
20 inches,’

— Joey

  
 

ad"

Studies show average weight loss of 30 Ibs in 6 months. Joey

used Sensa for 12 months with sensihle diat and evercice raaiman 2 Oe eEanm 12h
| SENSIBLE STRATEGIES TO STAY ON TRACK |

EAT WHAT YOU NORMALLY EAT

It’s very important that you don't use SENSA® as an excuse to
overindulge in fattening foods or to increase the amount of food

your normally eat, One pound of weight loss is equivalent to

approximately 3,500 calories. While there are no food restrictions
with SENSA, remember that the goal is to eat less so that you take

in fewer calories, and lose weight.

*: TUNE IN TO YOUR BODY’S SIGNALS

Learn to stop eating once you're full. The next time you eat, try
to recognize what your hunger feels like. Think of it as a sliding
scale from starving, to satisfied, to stuffed. Over time, you will

learn to stop eating as soon as you become satisfied.

SET REALISTIC GOALS

Your body needs time to adapt to the physiological changes
occurring, and the key to keeping weight off is to lose it at a rate

that is healthy for your body.

IF YOU FORGET TO USE SENSA

No worries! Simply sprinkle it on your next meal. In the first few
- weeks you may have trouble remembering to use SENSA, but

soon enough it will become second nature.

BUDDY UP TO BOOST YOUR SUCCESS

Take advantage of the resources within the SENSA Community.
Access the forums and find a weight-loss buddy who will help
push you toward your goals and give you added guidance

_ and suppor.

 
 

 

 

 

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“Now we’re both in better
shape, we’re both happier,
we go out more, we do more.
lt has made our life togetner
better We're both using
SENSA’ at the same time
and we're losing weight’

— Ari

Studies show average weight loss of 30 Ibs in 6 months.

W-MAN Document 1 Filed 04/22/11

Page 51 0f58 Page ID #:51

   
     

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Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04
of 58 Page ID #:
 KICKSTARTING A HEALTHY LIFESTYLE} °° SSS"
SENSA® was designed to give you the tools you need to lead a healthier
lifestyle. It is an aid to help you eat less and boost your weight loss. AS
you progress, you may want to shift.your weight loss into high gear by
- gating healthier foods and incorporating exercise. This will helo ensure

long-term, sustainable weight loss.

   

“Once | saw the results, it
motivated me to start walking
and eating healthier’

— Martha

 

 

Studies show average weight loss of 30 Ibs in 6 months.
 

1 Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 53 0f58 Page ID #:53
SATISFY CRAVINGS WITH SIMPLE SUBSTITUTIONS

Eating healthier doesn’t have to be a complete overhaul of your diet.
It just Means making healthier choices. You can still have chocolate,

but consider substitutes like chocolate-flavored cereal. It's fat-free and

contains fiber and vitamins that your body needs. |

 

 

CRAVING HEALTHY SUBSTITUTE

 

 

Chips Unsalted mixed nuts (E.g. cashews,
almonds, walnuts, pecans), seeds (E.g.
pumpkin, sesame, sunflower, flax), unsalted
pretzels, unbuttered & unsalted popcorn |

 

~ Dip. instead of using sour cream, use plain
low-fat yogurt; or try salsa instead — it’s
low-fat and full of veggies

 

Cookies Fig bars hit the spot like cookies, but also
provide fruit and fiber

 

Candy Sweet fruits like strawberries, grapes,
pears, cantaloupes, mangos, honey dew;
dried cranberries and raisins

 

 

ice Cream Sherbet, smoothie, yogurt, frozen yogurt

 

 

 

DRINK PLENTY OF WATER

 

Filling up on water helps with weight loss in three ways:
“2 Drinking more water means less sugarfilled soda
and “sports” drinks
“@ It helps to flush toxins from the body
&: Drinking a glass right before a meal will help you

feel full faster

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Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 54 of 58 Page ID #:54
INCORPORATE EXERCISE

  
 
  
  
  
  
 
 
 
  
  

Any movement is good for the body. Even the simplest activities can
help to burn calories, tone muscle and raise your heart rate. Everyday
activities such as doing household chores, washing your Car, or taking

the stairs instead of an elevator are a few ways you can help burn those

extra calories.

“Once | saw the positive
results, it motivated me to start
walking more. | have more
energy and | know that if |
work out, the results will
be even better’
— Dorothy

BGier

 

pounds

Studies show average weight loss of 30 Ibs in 6 months. Dorothy
used Sensa for 9 months with sensible diet and exercise regimen.
Case 2:11-cv-03457-SVW-MAN Document 1 Filed 04/22/11 Page 55o0f58 Page ID #:55

[ STAYING MOTIVATED |

Don't get discouraged if you're not losing weight at the same rate as
others. Everyone loses weight at different rates. Weight loss doesn't
happen overnight, just as gaining weight doesn’t happen overnight.

We all experience bumps in the road. The important thing is to keep

your head up and keep going!

 

“It took me a month for the
weighi to start to come off.
Then | got encouraged and
wanted to keep going. You
have to be patient

— Dina

 
 
 
 
 
 

 

 

Studies show average weight loss of 30 ibs in 6 months.

 

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: [ JOIN THE SENSA®” COMMUNITY

age 56 of 58 Page ID #:56

You have a vast network of support that you can tap into at any time,
whether you need advice, encouragement, inspiration, or simply want

to share the good news of your weight-loss SUCCESS.

Access weight-loss tools, tips and information, or get in touch with
other SENSA users by logging in to TrySensa.com and clicking on
SENSA Community.

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SENSA CUSTOMER CARE:

TrySensa.com

Toll-Free US. & Canada: (866) 514-2554
International: (310) 683-0952
Monday-Friday, 7 a.m. - 4 p.m. PST

 

 

 

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[Success Stories} “Examen

 

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| FREQUENTLY ASKED QUESTIONS

Is it possible to sprinkle too much SENSA°?
There is no harm in using too much SENSA; however, you will achieve the

best results if you use it as directed.

 

Can | cook with SENSA?
Do not cook with SENSA. The Tastants should be sprinkled on top of
meals and snacks right before eating. This way, the Tastants can properly

interact with your sense of smell.

What if | am still eating my entire meal?

It is completely normal to eat your entire meal with SENSA. However, since
you are trying to lose weight, it is important that you try to pay attention to
your body and stop eating when your body signals “satiety” or “fullness.”

What if | still feel hungry?

Go ahead and eat. Just be sure to use SENSA on every meal and snack.

How long will it take until | lose weight?
There is no “typical” timeline for losing weight with SENSA. Although most
people lose weight in the very first month, everyone experiences weight

loss differently. Stick with the system and you will lose weight.

 

What long-term results can | expect?

We believe with SENSA your body gradually adjusts over time to smaller
_portions, thus making it easier to practice moderation. Exercise and
healthy eating are necessary to achieve long-term sustainable weight loss.

For more Frequently Asked Questions visit
TrySensa.com

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WEIGHT-LOSS SYSTEM
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